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                    UNITED STATES DISTRICT COURT

                         DISTRICT OF OREGON


BRIAN PATRICK ARNOLD,

               Petitioner,                 1:13-cv-00302-SU


               v.                          FINDINGS AND
                                           RECOMMENDATION
RICK ANGELOZZI,

               Respondent.


SULLIVAN, Magistrate Judge.

     Petitioner, currently in state custody on post-prison

supervision,    filed    a   petition      under     28    U.S.C.    §    2254

challenging his February 1, 2006, conviction for Robbery in

the Second Degree. After a jury convicted petitioner, the

court imposed a sentence of 70 months imprisonment with 36

months of post-prison supervision.

     Petitioner directly appealed his conviction , and, in a

written   opinion,    the    Court   of    Appeals    remanded      for   re-

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sentencing, but otherwise affirmed the conviction. Petitioner

did not seek review from the Oregon Supreme Court.               Exhibits

105 - 110.

     Petitioner filed a Formal Second Amended Petition for

Post-Conviction Relief, Exhibit 111,             but the Lake County

Circuit Court denied relief.           The Oregon Court of Appeals

affirmed without opinion and the Oregon Supreme Court denied

review.   Exhibits 161-165.

     Petitioner alleges three grounds for relief.                Petition

(#2) p. 5-6. Respondent moves to deny the petition on the

ground that none of petitioner’s claims were fairly presented

to the state of Oregon’s highest court, and as a result are

all now procedurally defaulted.         Response (#13) p. 1.

     Under 28 U.S.C. § 2254(b)(1), an application for a writ

of habeas corpus "shall not be granted" unless "the applicant

has exhausted the remedies available in the courts of the

State[.]"    Exhaustion occurs when a petitioner has given the

state courts a "full and fair" opportunity to consider and

resolve all federal claims.      Keeney v. Tomayo-Reyes, 504 U.S.

1, 10 (1992).     If a petitioner can present a claim to the

state's Supreme Court, he must do so to properly exhaust that

claim.    O'Sullivan v. Boerckel, 526 U.S. 838, 844-45 (1999).

     To "fairly present" a federal claim in state court,

habeas petitioners must "include reference to a specific


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federal constitutional guarantee, as well as a statement of

facts    that     entitle    the   petitioner         to    relief."     Gray   v.

Netherland, 518 U.S. 152, 162-63 (1996).; see also, Castillo

v. McFadden, 399 F.3d 993, 1000 (9th Cir. 2005); see also,

Insyxiengmay v. Morgan, 403 F.3d 657, 668 (9th Cir. 2005) (“In

[the Ninth Circuit], a petitioner must make the federal basis

of   the     claim   explicit      either       by   specifying      particular

provisions of the federal Constitution or statutes, or by

citing to federal case law.”); Hiivala v. Wood, 195 F.3d 1098,

1106 (9th Cir. 1999) (per curiam) (holding that, when a

petitioner failed to cite federal case law or mention the

federal constitution in his state court briefing, he did not

alert the state court to the federal nature of his claims).

        Furthermore, to properly exhaust a claim the petitioner

must present the federal claim to the state courts in a

procedural       context    in   which    the    claims'      merits     will   be

considered. Castille v. Peoples, 489 U.S. 346, 351-52 (1989);

Roettgen v. Copeland, 33 F.3d 36, 38 (9th Cir. 1984; Turner v.

Compoy, 827 F.2d 526, 529 (9th Cir. 1987), cert. denied, 489

U.S. 1059 (1989).

        If   a   petitioner      has   failed        to    present   a   federal

constitutional claim to the state's highest court (i.e., has

failed to exhaust state remedies) and can no longer do so

because of a procedural bar, that claim is procedurally


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defaulted.     Boerckel, 526 U.S. at 848, citing Coleman v.

Thompson, 501 U.S. 722, 731-32 (1991).             Once a petitioner has

procedurally defaulted a claim, federal habeas corpus review

is barred unless the petitioner can demonstrate: (1) cause for

the procedural default, and (2) actual prejudice from the

failure. Edwards v. Carpenter, 529 U.S. 446, 451 (2000),

Coleman, 501 U.S. at 750; see also,           Wainwright v. Sykes, 433

U.S. 72 (1977); Murray v. Carrier, 477 U.S. 748 (1986); Hughes

v. Idaho Bd. of Corr., 800 F.2d 905 (9th Cir. 1986).

       Cause for a procedural default exists only if petitioners

"show that some objective factor external to the defense

impeded    counsel's     efforts    to     comply    with      the    State's

procedural rule." Murray, 477 U.S. at 488.                 Prejudice exists

only if petitioners show that the procedural default "worked

to    [petitioner's]     actual    and    substantial        disadvantage."

United    States   v.     Frady,    456     U.S.     152,      170    (1982).

Demonstrating a mere possibility of prejudice is insufficient.

Id.

       Procedural defaults may also be excused by demonstrating

a "fundamental miscarriage of justice." Edwards v. Carpenter,

529 U.S. 446, 451 (2000).            To establish the fundamental

miscarriage of justice exception to the exhaustion requirement

requires a showing of actual innocence. Schlup v. Delo, 513

U.S. 298, 329 (1995); Calderon v. Thompson, 523 U.S.538, 559


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       (1998).

               In Ground One petitioner alleges                    claims of ineffective

       assistance of counsel as follows:

               (A) Failure to file discovery motion compelling DA
               to file a written response regarding the statutory
               discovery duties and compliance with Brady lines of
               cases. (B) Failure to file a motion to dismiss for
               failure to record grand jury. © Failure to file
               Henthon memo to obtain access to officer’s file for
               impeachment purposes.

       Petition (#2) p. 5

               Petitioner raised claims similar to those alleged in (A)

       and (B) in his Second Amended Petition for Post-Conviction

       Relief.       See, Exhibit 111.           However, petitioner did not renew

       those claims in his appeal from the PCR trial court judgment.

       In his PCR appeal, petitioner alleged only that his attorney

       was ineffective for not reviewing the new discovery material

       on the eve of trial and for not requesting that the jury be

       instructed         on    a   lesser       included       offense.       Exhibit       161.

       Petitioner raised those same two claims in his petition for

       review by the Oregon Supreme Court. Exhibit 163.

               Because petitioner did not present the claims alleged in

       Ground One to the Oregon Supreme Court and because he can no

       longer do so1, those claims are procedurally defaulted.

       1
         ORS 138.071 requires that direct appeals be filed not later than 30 days after the judgment
or order appealed from was entered in the register. ORS 138.650 requires PCR appeals to be filed
within 30 days after the entry of final judgment. ORS 2.520 requires petitions for review to
Oregon's Supreme Court to be filed within 35 days from the date of the Court of Appeals' decision.
See also ORAP 9.05(2) (same) Finally, ORS 138.550(3) provides that all PCR claims must be

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              Petitioner has not alleged any cause and prejudice for

       his    procedural        default      or    that    he    is    entitled      to    the

       fundamental miscarriage of justice exception to the exhaustion

       requirement.          Accordingly, relief on Ground One should be

       denied.

              In     Ground       Two,      petitioner        alleges       prosecutorial

       misconduct as a result of the prosecutions failure to agree to

       a continuance.          In Ground Three, petitioner alleges judicial

       misconduct as a result of the court’s failure to grant a

       continuance of his trial date.

              On direct appeal, petitioner alleged a single assignment

       of error, that the trial court erred by concluding that

       petitioner was not eligible for a lesser sentence under the

       sentencing guidelines. See, Exhibit 105.                       He did not allege

       the prosecutorial misconduct and judicial misconduct claims he

       alleges in Grounds Two and Three.

              Petitioner          alleged         raised        numerous       claims        of

       prosecutorial and judicial misconduct                     in his Second Amended

       Petition for Post-Conviction Relief. Exhibit 111.                             The PCR

       trial court held that the claims of trial court misconduct

       were     “clearly      without      merit,”      and     further      that    because

       petitioner had not raised the claims on direct appeal, as a


asserted in the original or amended petition unless they could not reasonably have been asserted
therein, and any claims not so asserted are deemed waived.


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matter of law those claims were procedurally barred from post-

conviction relief. Findings of Fact, Conclusions of Law, pp.

5, 9.     In any event, petitioner did not advance any of those

claims in the appeal from the PCR trial court judgment.                  See,

Exhibit 161.

        Because petitioner did not present the claims alleged in

Grounds Two and Three to the Oregon Supreme Court, and because

he can no longer do so, see footnote 1, they are procedurally

defaulted. Petitioner has not alleged any cause and prejudice

for his procedural default or established that he is entitled

to the fundamental miscarriage of justice exception to the

exhaustion requirement.        Therefore, relief on Grounds Two and

Three should be denied.

        Petitioner’s Petition (#2) should be denied.              The Clerk

of the Court should be directed to enter a judgment dismissing

this proceeding.

        This recommendation is not an order that is immediately

appealable to the Ninth Circuit Court of Appeals.                Any notice

of appeal pursuant to Rule 4(a)(1), Federal Rules of Appellate

Procedure, should not be filed until entry of the district

court's judgment or appealable order.            The parties shall have

fourteen (14) days from the date of service of a copy of this

recommendation       within     which     to   file    specific      written

objections    with    the    court.     Thereafter,   the    parties     have


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fourteen (14) days within which to file a response to the

objections.    Failure to timely file objections to any factual

determinations of the Magistrate Judge will be considered a

waiver of a party's right to de novo consideration of the

factual issues and will constitute a waiver of a party's right

to appellate review of the findings of fact in an order or

judgment   entered       pursuant   to     the     Magistrate       Judge's

recommendation.



              Certificate of Appealability

     Should petitioner appeal, a certificate of appealability

should be denied as petitioner has not made a substantial

showing of the denial of a constitutional right. See, 28

U.S.C. § 2253(c)(2).



     DATED this 1st day of November, 2013.



                               /s/ Patricia Sullivan
                              Patricia Sullivan
                              United States Magistrate Judge




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